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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

IN RE:
                                                             CASE NO.: 18-18709-LMI

NOAM YATIV
                                                             CHAPTER: 13
                        Debtor(s).
                                                      /
            SECURED CREDITOR’S, RESPONSE TO DEBTOR’S EMERGENCY
            MOTION FOR APPROVAL OF SALE OF HOMESTEAD PROPERTY
                         21224 NE 19th Ct, Miami, FL 33179

         COMES NOW, SELECT PORTFOLIO SERVICING, INC. SERVICER FOR TOWD
POINT MORTGAGE TRUST 2015-5, U.S. BANK NATIONAL ASSOCIATION AS
INDENTURE TRUSTEE (“Secured Creditor”), by and through its undersigned counsel, as and
for Response to Debtor’s Emergency Motion for Approval of Sale of Homestead Property
[DE68], and in support states as follows:
1. Secured Creditor holds a security interest in Debtor’s exempt real property, located at 21224
    NE 19th Ct, in Miami-Dade County, FL by virtue of a Promissory Note and Mortgage dated
    August 07, 2007 recorded in the Public Records of Miami-Dade, FL. Said mortgage gives
    Secured Creditor a first mortgage position.
2. Debtor has filed an Emergency Motion for Approval of Sale of Homestead Property on
    March 5, 2019 [DE68].
3. The purchase price on the contract attached to Debtor’s Motion is listed at $597,000, which
    appears to be more that what is owed to Secured Creditor.
4. Therefore, Secured Creditor has no opposition to the entry of an order allowing Debtor to sell
    the Property provided Secured Creditor is paid in full at closing and is not being asked to
    accept less than the full amount it is owed and provided that:
         a. Debtor or the closing agent request and obtain a payoff statement prior to closing;
         b. Such payoff statement shall not be expired at the time of closing.




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        I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court
for the SOUTHERN District of Florida, and I am in compliance with the additional
qualifications to practice in this Court set forth in the Local Rules.
Dated: March 19, 2019
                                        Respectfully submitted,
                                                   /s/ BRIAN L. ROSALER
                                              BRIAN L. ROSALER
                                              Florida Bar No.: 0174882
                                              POPKIN & ROSALER, P.A.
                                              Attorney for Secured Creditor
                                              1701 West Hillsboro Boulevard, Ste 400
                                              Deerfield Beach, FL 33442
                                              Telephone: (954) 360-9030
                                              Facsimile: (954) 420-5187
                                              Email: bankruptcy@popkinrosaler.com


        I HEREBY CERTIFY that a true and correct copy of the foregoing was provided via
electronic and/or Regular U.S. Mail to the parties listed on the below service list, this
this   19 day of    March , 2019.

Noam Yativ
21224 NE 19 Ct
Miami, FL 33179

Michael A. Frank, Esq.
10 NW LeJeune Rd #620
Miami, FL 33126

Trustee
Nancy K. Neidich
POB 279806
Miramar, FL 33027

U.S. Trustee
Office of the US Trustee
51 S.W. 1st Ave., Suite 1204
Miami, FL 33130
                                                       By:     /s/ BRIAN L. ROSALER
                                                               BRIAN L. ROSALER
                                                               Florida Bar No.: 0174882



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